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                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK



 MARK DAPPOLLONE, Individually and on
 Behalf of All Others Similarly Situated,             Case No.: 1:18-cv-09395-PGG

                           Plaintiff,

               v.

 BENEFICIAL BANCORP, INC., FRANK A.
 FARNESI, EDWARD G. BOEHNE, KAREN
 DOUGHERTY BUCHHOLZ, MICHAEL J.
 DONAHUE, DONALD F. GAYHARDT, JR.,
 ELIZABETH H. GEMMILL, THOMAS J.
 LEWIS, and ROY D. YATES,

                           Defendants


                           NOTICE OF VOLUNTARY DISMISSAL

       Notice is hereby given that pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

Plaintiff voluntary dismisses with prejudice as to Plaintiff and without prejudice as to the putative

class the above-titled action against Defendants as moot.       Because this dismissal is being filed

with the Court before service by Defendants of either an answer or a motion for summary

judgement, Plaintiff’s dismissal of the Action is effective upon the filing of this notice.


 DATED: January 4, 2019                               MONTEVERDE & ASSOCIATES PC

                                                      /s/ Juan E. Monteverde
                                                      Juan E. Monteverde
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                                                      Counsel for Plaintiff



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